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UNITED STATES DISTRICT COURT 1 uf
FOR THE WESTERN DISTRICT OF TENNESSEE FlLED Ei' D-O-

    

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UNITED sTATEs or AMERICA )
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vs ) cr. No. 2;05<:1120209-01
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coNNrE MoRRls ) F l D BY
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Defendant. ) AUG 1 7 m
Mo'noN oF THE UNITED sTATEs To RBDUCE m m 003-rv
oFFENsE LEvEL PURSUANT 'ro U.s.s.c. §3E1.1.(b) w_°é."`w m mm

Now comes the United States of America through its attorneys and moves this Court to
reduce the offense level of defendant Connie Morris as determine under the United States
Sentencing Guideline by one level pursuant to §3El .l(b). In support thereof the United States
asserts that defendant Mom`s timely provided information to the Government concerning her
involvement in the offenses that are set forth in the information to Which she has entered a plea
of guilty and that she timely notified the Government of her intention to enter a plea of guilty
thereby permitting the Govemment to avoid preparing for trial and permitting the Court to

allocate its resources efficiently

Respectliilly submitted,

Ioshua R. I-Iochberg

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BERMCE some o By: Wiuiam T. ciabaulc
ON . .
U.S. DISTRICT JUDGAEL° §em<()irSTntal Attorney
rau ec lon
Criminal Division
U.S. Dept. of Justice

1400 New York Avenue, NW

Thls document entered on the docket sheet |n compliance Washington, DC 2053()

with Hure 55 and/or 32(b) FHCrP on " (202) 616_0433 / ; l
(202) 514-07021 FAX

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CERTIFICATE OF SERVICE

 

I, William T. Clabault, Senior Trial Attorney, Fraud Section, Criminal Division, United States
Department of Justice, hereby certify that a copy of the foregoing “Motion of the United States to
Reduce Oft`ense Level Pursuant to U.S.S.G. §3El . l .(b)” has been mailed first class postage
prepaid to:

STEVEN E. FARESE, Sr. Esq.
Farese, Farese & Farese P.A.
122 Church Avenue

Post Office Box 98

Ashland, Mississippi 38603

l further certify that l have caused a copy of the motion to be delivered to :

Mr. Wright E White, USPO
United State_s Probation Office
167 North Main Street

Room 234

Memphis, Tennessee 38103

This fifteenth day of August, 2005

W[LLIAM T. CL
Senior Trial Attorney

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20209 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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P.O. Box 98

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William T. Clabault

UNITED STATES DEPARTl\/IENT OF .TUSTICE
1400 NeW York Ave.7 N.W.

Ste. 4000

Washington, DC 20005

Honorable Bernice Donald
US DISTRICT COURT

